                                  Case 19-12153-KBO                  Doc 1        Filed 10/01/19           Page 1 of 19


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bayou Steel BD Holdings, L.L.C.

2.   All other names debtor
     used in the last 8 years
                                  DBA Bayou Steel Group
     Include any assumed          FKA BD Long Products, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  138 Highway 3217
                                  La Place, LA 70068
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  St John the Baptist                                             Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.bayousteelgroup.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Bayou Steel BD Holdings, L.L.C.                                                            Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3311

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                               Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 19-12153-KBO                      Doc 1      Filed 10/01/19             Page 3 of 19
Debtor   Bayou Steel BD Holdings, L.L.C.                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                 Case 19-12153-KBO                    Doc 1         Filed 10/01/19            Page 4 of 19
Debtor    Bayou Steel BD Holdings, L.L.C.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 1, 2019
                                                  MM / DD / YYYY


                             X   /s/ Alton Davis                                                          Alton Davis
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Chief Operating Officer




18. Signature of attorney    X   /s/ Christopher A. Ward                                                   Date October 1, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Christopher A. Ward
                                 Printed name

                                 Polsinelli PC
                                 Firm name

                                 222 Delaware Avenue
                                 Suite 1101
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 252-0920                Email address      cward@polsinelli.com

                                 3877 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Bayou Steel BD Holdings, L.L.C.                                                   Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                    Chapter     11
                                                                                                                       Check if this an
                                                                                                                          amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     BD Bayou Steel Investment, L.L.C.                                        Relationship to you               Affiliate
District   Delaware                                   When     10/01/19             Case number, if known
Debtor     BD LaPlace, LLC                                                          Relationship to you               Affiliate
District   Delaware                                   When     10/01/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
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        UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                     BAYOU STEEL BD HOLDINGS, LLC

                                        September __,
                                                  30 2019

        The undersigned, being all of the members of the Board of Directors(the “Board”) of
Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (the “Company”), acting
pursuant to Section 18-404 of the Delaware Limited Liability Company Act (6 De1.C. § 18-101,
et seq.), as amended, and Section 3.5 of the Amended and Restated Limited Liability Company
Agreement of the Company, does hereby adopt, approve and authorize the recitals and resolutions
set forth below and will place this Written Consent in the records of the Company:

I.       CHAPTER 11 FILING

        WHEREAS, the Board has considered presentations by management and the financial and
legal advisors of the Company regarding the liabilities and liquidity situation of the Company, the
strategic alternatives available to it and the effect of the foregoing on the Company’s business; and

        WHEREAS, the Board has had the opportunity to consult with the management and the
financial and legal advisors of the Company and fully consider each of the strategic alternatives
available to the Company.

        NOW THEREFORE BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of the Company, that the Company shall be, and hereby is,
authorized to file or cause to be filed voluntary petitions for relief for the Company and each of
the Company’s subsidiaries (each affiliate is listed on the attached Schedule 1 and collectively
referred to herein as the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy
Court”); and be it

        FURTHER RESOLVED, that the Chief Executive Officer and Chief Financial Officer
(collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
Officers be, and they hereby are, authorized, empowered and directed to execute and file on behalf
of the Company all petitions, schedules, lists and other motions, papers, or documents, and to take
any and all action that they deem necessary or proper to obtain such relief, including, without
limitation, any action necessary to maintain the ordinary course operation of the Company’s
business; and be it

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers, be, and they hereby are, authorized, empowered and directed to certify
the authenticity of these resolutions.

II.      RETENTION OF PROFESSIONALS

        IT IS FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby
are, authorized and directed to employ the law firm of POLSINELLI PC as general bankruptcy
counsel to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance the Company’s rights and obligations, including filing


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any pleadings; and in connection therewith, each of the Authorized Officers, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of POLSINELLI PC; and be it

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the firm of CANDLEWOOD PARTNERS, LLC as financial
advisor and investment banker to represent and assist the Authorized Officers and the Company
in carrying out their duties under the Bankruptcy Code, and to take any and all actions to advance
the Company’s rights and obligations; and in connection therewith, each of the Authorized
Officers are, with power of delegation, hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of CANDLEWOOD PARTNERS, LLC; and be it

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the firm of KURTZMAN CARSON CONSULTANTS LLC as
notice, claims, and balloting agent and as administrative advisor to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance the Company’s rights and obligations; and in connection therewith, each of the
Authorized Officers, with power of delegation, are hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to retain the services of KURTZMAN CARSON CONSULTANTS
LLC; and be it

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Officers, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary; and be it

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
with power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Officers deem necessary, proper, or desirable in connection with the Chapter 11 Cases, with a view
to the successful prosecution of such cases.

III.     CASH COLLATERAL AND ADEQUATE PROTECTION

        IT IS FURTHER RESOLVED, that the Company will obtain benefits from the use of
collateral, including cash collateral, as that term is defined in Bankruptcy Code section 363(a) (the
“Collateral”), which is security for the financial institutions party thereto from time to time as
lenders (collectively, the “Lenders”), and Bank of America, N.A., a national banking association,
as agent for the Lenders (the “Senior Agent”), as set forth in that certain Loan and Security



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Agreement dated as of April 4, 2016 (as amended, modified, or supplemented from time to time,
the “Senior Credit Agreement”); and be it

        FURTHER RESOLVED, that to use and obtain the benefits of the Collateral and in
accordance with Bankruptcy Code section 363, the Company will provide certain adequate
protection to the Senior Agent (the “Adequate Protection Obligations”), as documented in a
proposed interim order (the “Cash Collateral Order”) and submitted for approval to the
Bankruptcy Court; and be it

        FURTHER RESOLVED, that that the form, terms and provisions of the Cash Collateral
Order to which the Company is or will be subject, and the actions and transactions contemplated
thereby be, and hereby are authorized, adopted and approved, and each of the Authorized Officers
of the Company be, and they hereby are, authorized and empowered, in the name of and on behalf
of the Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of, the Cash Collateral Order, and such other
agreements, certificates, instruments, receipts, petitions, motions or other papers or documents to
which the Company is or will be a party (collectively with the Cash Collateral Order, the “Cash
Collateral Documents”), incur and pay or cause to be paid all fees and expenses and engage such
persons, in each case, in the form or substantially in the form thereof submitted to the Directors,
with such changes, additions, and modifications thereto as the officers of the Company executing
the same shall approve, such approval to be conclusively evidenced by such officers’ execution
and delivery thereof; and be it

        FURTHER RESOLVED, that that the Company, as debtor and debtor in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations
(as set forth in the Cash Collateral Order) and to undertake any and all related transactions on
substantially the same terms as contemplated under the Cash Collateral Documents (collectively,
the “Adequate Protection Transactions”); and be it

        FURTHER RESOLVED, that the Authorized Officers of the Company be, and they
hereby are, authorized and directed, and each of them acting alone hereby is, authorized, directed,
and empowered in the name of, and on behalf of, the Company, as debtor and debtor in possession,
to take such actions as in their discretion is determined to be necessary, desirable, or appropriate
and execute the Adequate Protection Transactions, including delivery of: (a) the Cash Collateral
Documents and such agreements, certificates, instruments, guaranties, notices and any and all
other documents, including, without limitation, any amendments to any Cash Collateral
Documents (collectively, the “Adequate Protection Documents”); (b) such other instruments,
certificates, notices, assignments, and documents as may be reasonably requested by the
prepetition lenders; and (c) such forms of deposit, account control agreements, officer’s certificates
and compliance certificates as may be required by the Cash Collateral Documents or any other
Adequate Protection Document; and be it

         FURTHER RESOLVED, that each of the Authorized Officers of the Company be, and
they hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the Adequate Protection Transactions
and all fees and expenses incurred by or on behalf of the Company in connection with the foregoing

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resolutions, in accordance with the terms of the Adequate Protection Documents, which shall in
their sole judgment be necessary, proper or advisable to perform the Company’s obligations under
or in connection with the Cash Collateral Order or any of the other Adequate Protection Documents
and the transactions contemplated therein and to carry out fully the intent of the foregoing
resolutions; and be it

       FURTHER RESOLVED, that each of the Authorized Officers of the Company be, and
they hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company, to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the Cash Collateral Order or any of
the Adequate Protection Documents or to do such other things which shall in their sole judgment
be necessary, desirable, proper, or advisable to give effect to the foregoing resolutions, which
determination shall be conclusively evidenced by their execution thereof; and be it

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out
the intent and accomplish the purposes of the resolutions adopted herein; and be it

        FURTHER RESOLVED, that all members of the Board of the Company have received
sufficient notice of the actions and transactions relating to the matters contemplated by the
foregoing resolutions, as may be required by the organizational documents of the Company, or
hereby waive any right to have received such notice; and be it

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Board; and be it

        FURTHER RESOLVED, that each of the Authorized Officers (and their designees and
delegates) be and hereby are authorized and empowered to take all actions or to not take any action
in the name of the Company with respect to the transactions contemplated by these resolutions
hereunder as the sole shareholder, partner, member or managing member of each direct subsidiary
of the Company, in each case, as such Authorized Officer shall deem necessary or desirable in
such Authorized Officers’ reasonable business judgment as may be necessary or appropriate to
effectuate the purposes of the transactions contemplated herein.




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IV.      GENERAL

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out
the intent and accomplish the purposes of the resolutions adopted herein; and be it

        FURTHER RESOLVED, that all members of the Board have received sufficient notice
of the actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the organizational documents of the Company, or hereby waive any right to
have received such notice; and be it

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Board; and be it

        FURTHER RESOLVED, that each of the Authorized Officers (and their designees and
delegates) be and hereby are authorized and empowered to take all actions or to not take any action
in the name of the Company with respect to the transactions contemplated by these resolutions
hereunder as the sole stockholder, member, or managing member of each direct subsidiary of the
Company, in each case, as such Authorized Officer shall deem necessary or desirable in such
Authorized Officers’ reasonable business judgment as may be necessary or appropriate to
effectuate the purposes of the transactions contemplated herein.

        This Consent may be signed in one or more counterparts, each of which shall be deemed
an original, and all of which shall constitute one instrument.




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        This action by written consent of the Board of Directors of Bayou Steel BD Holdings, LLC
is being signed and is effective of the date first written above.


                                     BOARD OF DIRECTORS




                                     [Abstain]
                                     James Hogarth




                                     [Abstain]
                                     Sam Farahnak




                                     [Abstain]
                                     Phil Raygorodetsky




                                     Rob Archambault




                                     Terry Taft




                                     Bob Unfried




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                                        Schedule 1

                                        Subsidiaries

         1.   BD LaPlace, LLC, a Delaware limited liability company; and

         2.   BD Bayou Steel Investment, LLC, a Delaware limited liability company.




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 Fill in this information to identify the case:

 Debtor name         Bayou Steel BD Holdings, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 1, 2019                         X /s/ Alton Davis
                                                                       Signature of individual signing on behalf of debtor

                                                                       Alton Davis
                                                                       Printed name

                                                                       President and Chief Operating Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name: BAYOU STEEL BD HOLDINGS, LLC
United States Bankruptcy Court District of Delaware
                                                                                                                                                                                    Check if this is an
Case number (If known):                                                                                                                                                             amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
Insiders                                                                                                                                                                                            12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or
entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
creditor among the holders of the 30 largest unsecured claims.

Name of creditor and complete                    Name, telephone number, and                      Nature of the claim    Indicate if       Amount of unsecured claim
mailing address, including zip code              email address of creditor                        (for example, trade   claim is          If the claim is fully unsecured, fill in only unsecured
                                                 contact                                          debts, bank loans,    contingent,       claim amount. If claim is partially secured, fill in
                                                                                                  professional          unliquidated,     total claim amount and deduction for value of
                                                                                                  services, and         or disputed       collateral or setoff to calculate unsecured claim.
                                                                                                  government
                                                                                                  contracts)
                                                                                                                                           Total claim, if       Deduction for       Unsecured
                                                                                                                                          partially             value of            claim
                                                                                                                                          secured               collateral or
                                                                                                                                                                setoff


1    TOKAI CARBON GE LLC                         KELLY CORRELL                                    TRADE CLAIM                                                                        $       2,745,736.24
     KELLY CORRELL                               PHONE: 704-593-5123
     6210 AUDRY KELL ROAD                        EMAIL:
     SUITE 270                                   KELLY.CORRELL@TOKAICARBONUSA.COM
     CHARLOTTE, NC 28277

2    TRI COASTAL TRADING LLC                                                                      TRADE CLAIM                                                                        $       1,594,630.02
     11931 WICKCHESTER                           PHONE: 281-902-0260
     SUITE 201
     HOUSTON, TX 77043

3    ALTER TRADING CORPORATION                                                                    TRADE CLAIM                                                                        $       1,095,061.74
     700 OFFICE PARKWAY                          PHONE: 314-872-2400
     ST. LOUIS, MO 63141-7124

4    BARFIELD ENTERPRISES, INC                   CHRISTINE BOSSIER                                TRADE CLAIM                                                                        $         888,253.48
     CHRISTINE BOSSIER                           PHONE: 985-651-4533
     PO BOX 218                                  EMAIL: CMBOSSIER@AOL.COM
     NEW BOSTON, TX 75570

5    THE DAVID J JOSEPH COMPANY                                                                   TRADE CLAIM                                                                        $         875,031.49
     PO BOX 632960                               PHONE: 402-590-2080
     CINCINNATI, OH 45263-2960

6    KODIAK METALS RECYCLING NC.                 JAMES DICKINSON                                  TRADE CLAIM                                                                        $         849,694.58
     JAMES DICKINSON                             PHONE: 281-339-2300
     1010 AVENUE S                               EMAIL: CKL@KODIAKRESOURCES.NET
     DICKINSON, TX 77586

7    MINERAIS U.S. LLC.                          ANDREW COOKE                                     TRADE CLAIM                                                                        $         820,092.00
     ANDREW COOKE                                PHONE: 908-874-7666
     105 RAIDER BLVD                             EMAIL: AMC@MINERAISUSA.COM
     HILLSBOROUGH, NJ 08844

8    PROLER SOUTHWEST INC.                       LINH NGUYEN                                      TRADE CLAIM                                                                        $         779,666.50
     LINH NGUYEN                                 PHONE: 713-671-2900
     PO BOX 53028                                EMAIL: LINH.NGUYEN@SIMSMM.COM
     HOUSTON, TX 77052

9    DERICHEBOURG RECYCLING USA, INC DANIELLE CANGA                         TRADE CLAIM                                                                                              $         776,448.46
     DANIELLE CANGA                  PHONE: 713-675-2285
     7501 WALLISVILLE ROAD           EMAIL: DANIELLE.CANGA@DERICHEBOURG.COM
     HOUSTON, TX 77020-3543

10   LA SCRAP METAL RECYCLING OF B.R. DANIEL RICHARD                                              TRADE CLAIM                                                                        $         765,662.43
     DANIEL RICHARD                   PHONE: 225-389-1108
     2527 S WESTPORT DRIVE            EMAIL: DRICHARD@LASCRAPMETAL.COM
     PORT ALLEN, LA 70767



11   STRICKLAND TRADING INC.                     B. WALLACE                                       TRADE CLAIM                                                                        $         758,253.41
     B. WALLACE                                  PHONE: 205-995-9550
     101 CARNOUSTIE                              EMAIL: BWALLACE@STRICKLANDTRADING.COM
     SHOAL CREEK, AL 35242

12   PROTRADE STEEL COMPANY, LTD                                                                  TRADE CLAIM                                                                        $         752,954.26
     5700 DARROW ROAD                            PHONE: 330-655-3970
     SUITE 114                                   EMAIL: ATAN@PROTRADESTEEL.COM
     HUDSON, OH 44236                            FREIGHTAP@PRODTRADESTEEL.COM

13   PACIFIC FOUNDRY COMPANY                                                                      TRADE CLAIM                                                                        $         657,398.00
     136 DURHAM AVENUE                           PHONE: 732-767-9788
     NEW JERSEY, NJ 08840                        EMAIL: ZENO@PFCROLL.COM




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Name of creditor and complete         Name, telephone number, and               Nature of the claim    Indicate if     Amount of unsecured claim
mailing address, including zip code   email address of creditor                 (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                      contact                                   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated,   total claim amount and deduction for value of
                                                                                services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                       Total claim, if       Deduction for       Unsecured
                                                                                                                      partially             value of            claim
                                                                                                                      secured               collateral or
                                                                                                                                            setoff


14   RIVER PARISH CONTRACTORS INC     SHAWN BECNEL                              TRADE CLAIM                                                                      $         647,399.80
     SHAWN BECNEL                     PHONE: 985-536-1425
     4007 WEST AIRLINE HWY            EMAIL:
     PO BOX 2650                      SHAWN.BECNEL@RPCONTRACTORS.COM
     RESERVE, LA 70084-0545

15   LA SCRAP PROCESSORS              DANIEL RICHARD                            TRADE CLAIM                                                                      $         523,219.26
     DANIEL RICHARD                   PHONE: 337-654-4932
     2200 CAMERON STREET              EMAIL: DRICHARD@LASCRAPMETAL.COM
     LAFAYETTE, LA 70506

16   GONG CHANG %MPSI                 DAVE BALDEA                               TRADE CLAIM                                                                      $         512,313.00
     DAVE BALDEA                      PHONE: 317-853-6979
     PO BOX 4030                      EMAIL: VIKINGSPORT@MSN.COM
     CARMEL, IN 46082

17   PULL A PART                      REBECCA KIM                               TRADE CLAIM                                                                      $         463,521.96
     REBECCA KIM                      PHONE: 678-993-2513
     4473 TILLY MILL ROAD             EMAIL: REBECCAK@PULLAPART.COM
     ATLANTA, GA 30360

18   LHOIST NORTH AMERICA             JOHN BEATTY                               TRADE CLAIM                                                                      $         451,825.49
     JOHN BEATTY                      PHONE: 800-388-8550
     3700 HULEN STREET                EMAIL: JOHN.BEATTY@LHOIST.COM
     FORT WORTH, TX 76107

19   DIAMOND E TRUCKING               C MITCHELL                                TRADE CLAIM                                                                      $         447,687.13
     C MITCHELL                       PHONE: 225-667-0111 504-667-0111
     214 VETERANS BLVD                EMAIL: DIAMONDETRUCKING@YAHOO.COM
     PO BOX 1056
     DENHAM SPRINGS, LA 70726

20   KONE CRANES                      KEITH MINER                               TRADE CLAIM                                                                      $         437,023.56
     KEITH MINER                      PHONE: 504-382-2332
     3115 LAPLACE LANE                EMAIL: KEITH.MINER@KONECRANES.COM
     LAPLACE, LA 70068

21   JLE INDUSTRIES, LLC                                                        TRADE CLAIM                                                                      $         435,492.26
     119 ICMI ROAD                    PHONE: 724-603-2228
     SUITE 210                        EMAIL:
     DUNBAR, PA 15431                 JAMIE.MARCHIONDA@JLEINDUSTRIES.COM

22   JEFFERSON IRON & METAL                                                     TRADE CLAIM                                                                      $         430,120.81
     3940 MONTCLAIR ROAD              PHONE: 205-803-5200
     #300                             EMAIL: DANNY@JEFFIRON.COM
     PO BOX 131449
     BIRMINGHAM, AL 35213

23   AMERICAN STATE EQUIPMENT                                                   TRADE CLAIM                                                                      $         428,018.05
     2055 SOUTH 108TH STREET          PHONE: 414-541-8700
     MILWAUKEE, WI 53227              EMAIL: MHOCKING@AMSTATE.COM

24   M. BRASHEM, INC                                                            TRADE CLAIM                                                                      $         416,656.18
     14023 NE 18TH STREET             PHONE: 425-641-1566
     BELLEVUE, WA 98007               EMAIL: MIKEB@MBRASHEM.COM

25   AMERICAN ROLL GROUP LLC          KEVIN MCCAFFREY                           TRADE CLAIM                                                                      $         398,115.00
     KEVIN MCCAFFREY                  PHONE: 480-502-9018
     28182 N HAYDEN ROAD              EMAIL: ROLLVENDOR@GMAIL.COM
     SCOTTSDALE, AZ 85266

26   APPLIED INDUSTRIAL                                                         TRADE CLAIM                                                                      $         392,519.68
     5516 POWELL STREET               PHONE: 504-733-7140
     HARAHAN, LA 70183-3427           EMAIL: SC0273@APPLIED.COM

27   SCRAP CONNECTION                 STACEY GRIFFIN                            TRADE CLAIM                                                                      $         385,036.74
     STACEY GRIFFIN                   PHONE: 985-868-0489
     1954 HIGHWAY 182                 EMAIL: MOTORCROSSMOMA@YAHOO.COM
     HOUMA, LA 70364

28   TMS INTERNATIONAL, LLC                                                     TRADE CLAIM                                                                      $         378,736.51
     12 MONONGAHELA AVE               PHONE: 412-678-6141
     GLASSPORT, PA 15045              EMAIL: TMINNIER@TMSINTERNATIONAL.COM

29   ROCHESTER IRON AND METAL, INC.   MICHELE MORGAN                            TRADE CLAIM                                                                      $         361,536.25
     MICHELE MORGAN                   PHONE: 574-835-1699
     1552 E. LUCAS STREET             EMAIL: MMORGAN@ROCHESTERIRON.COM
     ROCHESTER, IN 46975

30   HISAR CELIK C O MPSI ROLLS       DAVE BALDEA                               TRADE CLAIM                                                                      $         357,700.00
     DAVE BALDEA                      FAX: 317-853-6234
     PO BOX 4030                      EMAIL: VIKINGSPORT@MSN.COM
     CARMEL, IN 46082-4030




Official Form 204                            Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                           Page 2
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                                                               United States Bankruptcy Court
                                                                          District of Delaware
 In re      Bayou Steel BD Holdings, L.L.C.                                                                           Case No.
                                                                                      Debtor(s)                       Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Bayou Steel BD Holdings II, L.L.C.                                  Preferred         100%                                      Ownership
 138 Highway 3217
 La Place, LA 70068


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President and Chief Operating Officer of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



 Date October 1, 2019                                                            Signature /s/ Alton Davis
                                                                                            Alton Davis

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      Bayou Steel BD Holdings, L.L.C.                                                                Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Bayou Steel BD Holdings, L.L.C. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Bayou Steel BD Holdings II, L.L.C.
 138 Highway 3217
 La Place, LA 70068




 None [Check if applicable]




 October 1, 2019                                                     /s/ Christopher A. Ward
 Date                                                                Christopher A. Ward
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Bayou Steel BD Holdings, L.L.C.
                                                                     Polsinelli PC
                                                                     222 Delaware Avenue
                                                                     Suite 1101
                                                                     Wilmington, DE 19801
                                                                     (302) 252-0920 Fax:(302) 252-0921
                                                                     cward@polsinelli.com




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